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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

                                         )
  AMAZON.COM, INC. and AMAZON DATA )
  SERVICES, INC.,                        )
                                         )
              Plaintiff,                 )
                                         )
                      v.                 )               Civil Action No. 1:20-cv-484 (RDA/TCB)
                                         )
  WDC HOLDINGS LLC d/b/a NORTHSTAR )
  COMMERCIAL PARTNERS, et al.,           )
                                         )
              Defendants.                )
  ______________________________________ )

                                                ORDER

            This matter comes before the Court on Plaintiffs Amazon.com, Inc. and Amazon Data

  Services, Inc.’s (“Plaintiffs”) Motion for a Protective Order Prohibiting Depositions of Chris

  Vonderhaar and Keith Klein and Notice of Mootness and Withdrawal of Plaintiffs’ Motion for a

  Protective Order Prohibiting the Depositions of Chris Vonderhaar and Keith Klein (Dkts. 545,

  557.) Plaintiffs state that after this Court granted the parties’ motion for extension of discovery,

  Defendants Carleton Nelson and Cheshire Ventures LLC agreed to withdraw their notices to

  depose Chris Vonderhaar and Keith Klein. The parties further agree to meet and confer to set

  new deposition dates that are acceptable to all parties. Accordingly, it is hereby

            ORDERED that Plaintiffs’ Motion for a Protective Order Prohibiting Depositions of Chris

  Vonderhaar and Keith Klein (Dkts. 545) is DENIED AS MOOT without prejudice; and it is

  further

            ORDERED that the hearing scheduled for Friday, March 11, 2022 is CANCELLED.
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         ENTERED this 2nd day of March, 2022.




                                                                /s/

                                         THERESA CARROLL BUCHANAN
                                         UNITED STATES MAGISTRATE JUDGE

  Alexandria, Virginia
